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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

IN RE:                                        :       CASE NO.:      17-11678

RHONDA S CRESIE                               :       CHAPTER        13

         DEBTOR                               :       JUDGE          HOPKINS

                                              :       WITHDRAWAL OF THE AMENDED
                                                      OBJECTION TO PROOF OF CLAIM OF
                                              :       US BANK NATIONAL ASSOCIATION
                                                      SUCCESSOR BY MERGER OF U.S.
                                              :       BANK NATIONAL ASSOCIATION ND
                                                      (Doc. 38 )

       Come now the debtor, Rhonda S. Cresie, and respectfully withdraws the Objection to Proof
of Claim of US Bank National Association Successor by Merger of U.S. Bank National Association
ND (Doc. 38).

                                                      Respectfully Submitted,


                                                      /s/Molly Slutsky Simons
                                                      Molly Slutsky Simons (0083702)
                                                      Amourgis & Associates
                                                      300 E. Business Way, Suite 200
                                                      Cincinnati, OH 45241
                                                      (513)826-4408/(614) 987-2086 (Fax)
                                                      msimons@amourgis.com

                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Withdrawal of Objection to Proof of Claim was
served on the parties listed below by ordinary U.S. Mail or served electronically through the Court’s
ECF System at the e-mail address registered with the Court on this 6th day of December, 2017.

                                                      /s/Molly Slutsky Simons
                                                      Attorney for Debtor
                                                      Molly Slutsky Simons (0083702)
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Served Electronically via ECF:                   Served by Regular U.S. Mail:

Margaret A. Burks, Esq.                          Rhonda S Cresie
Chapter 13 Trustee                               4314 Delridge Dr.
Cincinnati@cinn13.org                            Cincinnati, OH 45205

U.S. Trustee                                     U.S. Bank Home Mortgage
Ustpregion09.ci.ecf@usdoj.gov                    4801 Frederica Street
                                                 Owensboro, Kentucky 42301
